                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                                    5:98 CR 282-11

UNITED STATES,

     v.
                                                                 ORDER
DADRIAN NEKEITH ROMAN,

           Defendant.


          THIS MATTER is before the Court on Defendant’s “Motion for Writ of Habeas Corpus

Order for Immediate Release, Judicial Review of Administrative Record, and Writ of Duces

Tecum Order to Produce the Documents,” (file doc. 434), filed January 20, 2006; “Motion for

Writ of Habeas Corpus Order for Immediate Release, Judicial Review of Administrative

Records, and Writ of Duces Tecum Order to Produce the Documents,” (file doc. 436), filed

February 15, 2006; “Motion Requesting Certificate of Appealability Review Pursuant to Local

Rule 22(a),” (file doc. 437), filed February 24, 2006; and “Motion Requesting to Amend

Pursuant to Federal Rules of Civil Procedure 15A and in the Alternative Certificate of

Appealability Review Pursuant to Local Rule 22(a),” (file doc. 438), filed on March 3, 2006.

I.        FACTUAL AND PROCEDURAL HISTORY

          On April 1, 1999, Defendant pled guilty to one count of conspiracy to possess with intent

to distribute, and distribute, quantities of cocaine and cocaine base, Sch. II controlled substances.

And, on August 30, 2001, a Judgment was entered, sentencing Defendant to 240 months

imprisonment. Defendant appealed the sentence and, on June 5, 2002, the Fourth Circuit, in an

unpublished opinion, affirmed the sentence as imposed.

          On January 20, 2006, Defendant filed a motion challenging the sentence imposed by this



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Court, stating that the Judgment is void and this Court had no authority to sign the Judgment. On

February 3, 2006, this Court issued an Order deferring its ruling on the January 20, 2006 Motion,

and giving Defendant until March 10, 2006, to notify the Court whether he wished to have that

Motion construed pursuant to 28 U.S.C. § 2255. Since that time Defendant has filed two

additional unrelated motions, and a third motion where he argues that he has not filed a

successive Section 2255 motion.1

II.     “Motion for Writ of Habeas Corpus Order for Immediate Release, Judicial Review
        of Administrative Records, and Writ of Duces Tecum Order to Produce the
        Documents”

        On January 20, 2006, Defendant filed the exact same motion, (file doc. 434), almost

verbatim, as the Motion filed on February 15, 2006, (file doc. 436), discussed in this section. As

stated above, on February 3, 2006, this Court issued an Order on the January 20, 2006 Motion,

giving Defendant until March 10, 2006, to notify the Court whether he wished to have that

Motion construed pursuant to 28 U.S.C. § 2255. On March 3, 2006, Defendant did file a Motion

which appears to be in response to the Court’s Order. The Court will proceed accordingly with

that response. However, because the Motion filed on February 15, 2006, was virtually identical

to the January 20, 2006 Motion discussed below, the Court will deny the February 15, 2006

Motion as moot because the exact same issues are being dealt with in the earlier filing.

III.    “Motion Requesting Certificate of Appealability Review Pursuant to Local Rule
        22(a)”

        Defendant has filed this Motion pursuant to Local Rule 22(a) of the Fourth Circuit


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          Although Defendant argues that he has not filed a successive Section 2255 motion, the Court is aware that
Defendant has not filed a prior Section 2255 motion and was not attempting to treat any of his motions as such.
Defendant’s judgment became final on June 28, 2002, when the Fourth Circuit entered the Judgment affirming
Defendant’s sentence. Therefore, in order to maintain a Section 2255 claim, Defendant had to file a motion by June
28, 2003. Defendant did not file a Section 2255 motion within the limitations period.

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seeking to have this Court adopt for the Fourth Circuit a rule “which allows this Court to use a

single document as both the appellant’s request for a COA and the appellant’s brief on the

merits, even as the Court maintains a clear distinction between the COA and merits phases of the

appeal.” (Def.’s Mot. at 5.) Fourth Circuit Local Rule 22(a) deals with cases where a district

court has not granted a certificate of appealability in 28 U.S.C. § 2255 proceedings.

          First, the Court notes that no ruling in a 28 U.S.C. § 2255 proceeding as to this Defendant

has even been made. Thus, it is unclear what Defendant seeks to appeal. Further, and most

importantly, this Court has no authority to change the Local Rules of the Fourth Circuit, or to

take any action pursuant to Fourth Circuit Local Rule 22(a). Accordingly, this Motion will be

denied.

IV.       “Motion Requesting to Amend Pursuant to Federal Rules of Civil Procedure 15A
          and in the Alternative Certificate of Appealability Review Pursuant to Local Rule
          22(a)”

          A.      Defendant’s Fourth Circuit Local Rule 22(a) Request

          Defendant has again filed an almost identical motion just days after filing the initial

motion. The substance of the first section of this Motion is virtually identical to that of the

Motion filed on February 24, 2006. As stated in the section discussing Fourth Circuit Local Rule

22(a) above, this Motion will also be denied for two reasons. First, it is unclear what Defendant

is attempting to appeal as this Court has never issued a ruling on a Section 2255 claim in this

action. Second, and most importantly, this Court has no authority to alter the Local Rules of the

Fourth Circuit.

          B.      Defendant’s Collateral Attack on his Sentence

          The Court is construing the second part of this Motion as Defendant’s response to its


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February 3, 2006 Order requesting that Defendant notify the Court as to whether he wished to

have the January 20, 2006 Motion construed pursuant to 28 U.S.C. § 2255. In the several

motions filed since the Court’s February 3, 2006 Order, this is the first one in which Defendant

has addressed a Section 2255 filing. Further, the Court stated that if it did not receive a response

from Defendant, it would construe the January 20, 2006 filing as a Section 2255 claim.

       In this Motion, Defendant argues, along with his Fourth Circuit Local Rule 22(a) request,

that he has not filed a successive Section 2255 Motion. The bulk of the Section 2255 discussion

revolves around Defendant’s assertions that he has not filed a successive 2255 Motion because

he is raising claims that did not exist for earlier claims. As stated above, Defendant has not filed

a prior Section 2255 claim, thus, his argument against classifying his current motions as a

successive claim is difficult to understand.

       However, when considering the language he chooses in connection with this Court’s

February 3, 2006 Order, it appears as though Defendant is arguing that his prior motion is timely

under the exceptions to the one-year statute of limitation for a Section 2255 claim. Although

noting that a Section 2255 petition filed at this date would be untimely, in its February 3, 2006

Order, the Court noted that if Defendant wished to have his Motion construed pursuant to

Section 2255 he would be permitted to provide additional documentation to support his Section

2255 Motion, and to offer an explanation as to why his untimely Section 2255 motion was

subject to an exception to the limitation period. Although it is not clear why Defendant

continuously mentions the issue of a successive Section 2255 claim, it does appear as though he

is attempting to offer an explanation for the late filing of the Motion which collaterally attacks

his sentence. Therefore, the Court will construe his January 20, 2006 Motion as a Section 2255


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claim, and will also consider the arguments on pages 6-8 of his March 3, 2006 Motion in its

determination of whether the untimely Section 2255 claim will be allowed to proceed.

V.     CONCLUSION

       IT IS THEREFORE ORDERED that Defendant’s “Motion for Writ of Habeas Corpus

Order for Immediate Release, Judicial Review of Administrative Records and Writ of Duces

Tecum Order to Produce Documents,” (file doc. 436), is hereby DENIED.

       IT IS FURTHER ORDERED that Defendant’s “Motion Requesting Certificate of

Appealability Review Pursuant to Local Rule 22(a),” (file doc. 437), is hereby DENIED.

       IT IS FURTHER ORDERED that Defendant’s “Motion Requesting to Amend Pursuant

to Federal Rules of Civil Procedure 15A and in the Alternative Certificate of Appealability

Review Pursuant to Local Rule 22(a),” (file doc. 438), is hereby DENIED in part, and in part

construed as a supplement to the Motion this Court will construe as a Section 2255 Motion. This

Motion, specifically pages 6-8, shall be filed in the CIVIL ACTION which will be opened for

Defendant’s Section 2255 claim.

       IT IS FURTHER ORDERED that Defendant’s “Motion for Writ of Habeas Corpus

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Tecum Order to Produce the Documents,” (file doc. 434), is hereby CONSTRUED as a Section

2255 Motion.
                                                Signed: April 11, 2006




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